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                               SCHEDULE A


     1. Roxane Adams                          43. Cynthia Malaki
     2. Hubert Adkins                         44. Jonathan Marshall
     3. Sadiqua Allen                         45. Janelle McAllister
     4. Tarnicia Allen                        46. Ebony McEntyre
     5. Shannon Ambrutia                      47. Shakeia McLeod
     6. Samara Archer                         48. Rebecca McManis
     7. Kayla Baker                           49. Valerie McQueen
     8. Latishia Bolden                       50. Piers Miltier
     9. Leslie Boone                          51. Monica Mitchell
     10. Tanyard Bray                         52. Victor Mokoena
     11. Shawvone Brockman                    53. Teresa Morey
     12. Ashley Brooks                        54. Allison Mullinix
     13. Richard Bryant                       55. Margie Neville
     14. Judith Buchannan                     56. Melisa Ozirus
     15. Aubrey Carson                        57. Lynell Pace
     16. Erica Carter                         58. Tanya Pettigrew
     17. Gladys Charles                       59. Brandy Plummer
     18. Donita Church                        60. Ray Reddings
     19. Tomeka Clark                         61. Stephanie Rizer
     20. Stephanie Collier                    62. Nakeesha Rollins
     21. Lori Cox                             63. Karentina Scott
     22. Elois Cruger                         64. Linda Scruggs
     23. David Douglas                        65. Sheila Silver
     24. Renae Dumpson                        66. Juan Simmons
     25. Niara Early                          67. Chantella Smith
     26. Claudine Edmond                      68. Illisha Smith
     27. Anne Eng                             69. Ashley Straton
     28. Jennifer Fraser                      70. Alexis Sutphin
     29. Shoneterria Fulton                   71. Tasha Tate
     30. Andre Gardiner                       72. Ryan Thompson
     31. Ann Glass                            73. Andrea Tirado
     32. Renorda Griffin                      74. Katia Tyler
     33. Daseline Hall                        75. Ashley Vaughn
     34. Karen Harris                         76. Cherish Vickers
     35. Tiffany Hicks                        77. Alvina Ward
     36. Emma Hill                            78. Tameka Watford
     37. Aisha Hodge                          79. Genera Watson
     38. Shannon Howell                       80. Belinda Westbrook
     39. Whitney Jefferson                    81. Nicole Williams
     40. Elizabeth Jenkins                    82. Koneika Willis
     41. Tanglae Keys                         83. Dawn Wooten
     42. Jonathan Kidder                      84. Mercy Zinzou
